EXHIBIT 4

[REDACTED]
  From: Melissa J. Hogan melissajhogan@qavahlaw.com
Subject: Re: Hunt v. SBC - Subpoenas
   Date: February 29, 2024 at 12:54 PM
     To: Patrick Sanders patrick.sanders@macgilllaw.com
    Cc: Dawn Stewart dawn@bozlawpa.com, Basyle Tchividjian boz@bozlawpa.com, Scott Murray Scott.Murray@macgilllaw.com,
         Elizabeth Merritt elizabeth.merritt@macgilllaw.com, Robert MacGill robert.macgill@macgilllaw.com


       Just checking back in on this. We did not agree to accept service of subpoenas on behalf of our clients, so it would be good for us to
       connect, today if possible.

       Melissa

         On Feb 27, 2024, at 9:05 AM, Melissa J. Hogan <melissajhogan@qavahlaw.com> wrote:

         Patrick,

         Can we set up a time to discuss?

         Melissa

         Melissa J. Hogan, Esq.
         QAVAH LAW
         melissajhogan@qavahlaw.com
         615.293.6623

           On Feb 15, 2024, at 5:27 PM, Patrick Sanders <patrick.sanders@macgilllaw.com> wrote:

           Boz and Melissa,

           Attached are subpoenas for your clients. Please confirm you will accept service.

           As we discussed, we would like to work with you on a mutually agreeable date and time for their depositions, as long as the
           depositions occur before March 15.

           Best regards,

           Patrick Sanders
           Associate
           MacGill PC
           Patrick.Sanders@MacGillLaw.com
           w: 317-961-5390
           m: 317-670-1557
           www.MacGillLaw.com


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           attorney client or work product privilege by the transmission of this message. If you are not the intended recipient, please: notify
           us immediately, delete this message, and refrain from taking any action in reliance on this message. <Hunt v. SBC - Alisa
           Womack Subpoena (1).pdf><Hunt v. SBC - Russell Womack Subpoena (1).pdf>
  From: Basyle Tchividjian boz@bozlawpa.com
Subject: Re: Womack Depostions
   Date: March 7, 2024 at 10:57 PM
     To: Robert MacGill robert.macgill@macgilllaw.com, Bundren, Brandon bbundren@bradley.com, Callas, Gretchen
         gcallas@jacksonkelly.com, Gene Besen gbesen@bradley.com, Gino Marchetti gmarchetti@tpmblaw.com, John Jacobson
         JJacobson@rjfirm.com, Kathy Klein KKlein@rjfirm.com, Matt Pietsch matt@tpmblaw.com, Nokes, Scarlett snokes@bradley.com,
         Patrick Sanders patrick.sanders@macgilllaw.com, Scott Klein Klein@mintzandgold.com, Scott Murray
         Scott.Murray@macgilllaw.com, Steve Mintz mintz@mintzandgold.com, Terence McCormick McCormick@mintzandgold.com,
         Thomas J. Hurney, Jr. - Jackson Kelly PLLC (thurney@jacksonkelly.com) thurney@jacksonkelly.com, Melissa J.Hogan
         melissajhogan@qavahlaw.com

       Rob -

       Welcome back from vacation world. Ms. Hogan and I can speak with you on Tuesday morning at 9 am CST (10 EST). We're fine if the
       entire gang here wants to join us - sometimes the more the merrier, but I'm not so sure with this group. Whatever you all wish to do
       works for us.

       Finally, please copy Ms. Hogan when communicating with me. This is not the first time your office has failed to include her. As you well
       know, she is our local counsel. It's the appropriate and respectful thing to do. Thank you.

       We anticipate receiving your confirmation for Tuesday's call.

       Peace

       Boz

                     Boz Tchividjian, Esq.
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       sender and delete the material from all computers.
       From: Robert MacGill <robert.macgill@macgilllaw.com>
       Sent: Thursday, March 7, 2024 7:08 PM
       To: Basyle Tchividjian <boz@bozlawpa.com>; Bundren, Brandon <bbundren@bradley.com>; Callas, Gretchen
       <gcallas@jacksonkelly.com>; Gene Besen <gbesen@bradley.com>; Gino Marchetti <gmarchetti@tpmblaw.com>; John Jacobson
       <JJacobson@rjfirm.com>; Kathy Klein <KKlein@rjfirm.com>; Matt Pietsch <matt@tpmblaw.com>; Nokes, Scarlett
       <snokes@bradley.com>; Patrick Sanders <patrick.sanders@macgilllaw.com>; Scott Klein <Klein@mintzandgold.com>; Scott Murray
       <Scott.Murray@macgilllaw.com>; Steve Mintz <mintz@mintzandgold.com>; Terence McCormick <McCormick@mintzandgold.com>;
       Thomas J. Hurney, Jr. - Jackson Kelly PLLC (thurney@jacksonkelly.com) <thurney@jacksonkelly.com>
       Subject: Womack Depostions

       Counsel,

       I have returned from some vacation time today and write to update you on our lack of progress with the Womacks’ testimony.

       Attached below is an email exchange with the Womacks’ counsel this week.

       We have been hoping for some measure of cooperation with counsel for the Womacks but have been unlucky. For instance, you see
       below delay on having a routine phone call.

       Based on these circumstances, it is clear that the Womacks will not be appearing for a deposition next week. They seem to be
       insisting on being served personally. Please accept this email as our withdrawal of our notices for the depositions of the Womacks
       next week.

       I have copied Boz on this email for his information. It is possible that Boz will participate in a call with us next week. If he does, we will
       update you promptly on the discussion. Perhaps some of you are already having separate communications with Boz and had some
update you promptly on the discussion. Perhaps some of you are already having separate communications with Boz and had some
advance notice of the circumstances.

For now, we will await another day for these depositions.

Best regards.



Robert D. MacGill
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Indianapolis, IN 46260
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---------- Forwarded message ---------
From: Basyle Tchividjian <boz@bozlawpa.com>
Date: Wed, Mar 6, 2024 at 2:40 PM
Subject: Re: Call tomorrow
To: Robert MacGill <robert.macgill@macgilllaw.com>
CC: Patrick Sanders <patrick.sanders@macgilllaw.com>, Melissa J.Hogan <melissajhogan@qavahlaw.com>



Rob –


On February 27th, Ms. Hogan wrote to Patrick on February 27th asking to set up a time to speak
with you all. After not hearing back from him, she followed up another email on February 29th
and we still did not hear from you or your team.


I am busy for the rest of the week on a handful of out of state mediations. I will get with Ms.
Hogan and we’ll get back with you on some available dates to chat next week.


Lastly, as previously mentioned by Ms. Hogan, our offices have never agreed to accept service of
your deposition subpoenas. As you know, the fact that they were unilaterally emailed to us does
not equate effectuated service.


Boz


                    Boz Tchividjian, Esq.
                    BozLaw PA
                    386.682.5540 | www.bozlawpa.com
                    112 W. New York Ave., Suite 207 DeLand, FL. 32720
From: Robert MacGill <robert.macgill@macgilllaw.com>
Date: Wednesday, March 6, 2024 at 2:00 PM
To: Basyle Tchividjian <boz@bozlawpa.com>
Cc: Patrick Sanders <patrick.sanders@macgilllaw.com>
Subject: Call tomorrow

Boz,

We would like to discuss the Womack depositions.

May we have a call at 9 am eastern time?

Best regards.


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3A__www.MacGillLaw.com&d=DwICAg&c=euGZstcaTDllvimEN8b7jXrwqOf-
v5A_CdpgnVfiiMM&r=oLzuRgyACefS8K439NUENDIX6XeQfcGl89zuNSc8nN4&m=Qgn
WKsOFumAoeU0hREJFX8u8jaMINNyZu0HnfYL-
Hnp5VeDrHBGx6p8VFjpkpU8q&s=__3rKEQo-
aEQCj7PejWYe_K4xmOZEErZ02Fimn72_WY&e=



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